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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 18-80160-CR-WPD(s)

   UNITED STATES OF AMERICA

   v.

   CLAUDIA PATRICIA DIAZ GUILLEN and
   ADRIAN JOSE VELASQUEZ FIGUEROA,

            Defendants.
                                               /

                  GOVERNMENT’S INDEX OF ADMITTED TRIAL EXHIBITS

            COMES NOW, the United States of America, by and through its undersigned Assistant

   United States Attorney, and hereby files this Index of Admitted Trial Exhibits and includes, by

   way of attachment its official Exhibit List indicating exhibits admitted at trial.

        1. Exhibit 1 – Economy Expert Figure 1

        2. Exhibit 2 – Economy Expert Figure 2

        3. Exhibit 4 - Photos of Raul Gorrin/Gustavo Perdomo/Claudia Diaz/Adrian Velasquez

        4. Exhibit 5 - Alejandro Andrade Plea Agreement

        5. Exhibit 6 - LGD Invoices (DOJGOR 239548-49)

        6. Exhibit 7 - LGD confirm payment to Dutta (DOJGOR 239539-45)

        7. Exhibit 8 - LGD confirming payment (DOJGOR 239506-12)

        8. Exhibit 10 - Email AA to RG Vet Invoice (DOJGOR 72520-21)

        9. Exhibit 10A - TRANSLATION

        10. Exhibit 11 - Email from 002 to AA with spreadsheet

        11. Exhibit 11A - TRANSLATION

        12. Exhibit 12 - Email RG to AA smarthome budget

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     13. Exhibit 12A - TRANSLATION

     14. Exhibit 13 - Email from 002 to AA with spreadsheet

     15. Exhibit 13A - TRANSLATION

     16. Exhibit 14 - Email from RG to AA re: Bond Investments

     17. Exhibit 14A - TRANSLATION

     18. Exhibit 15 - Email from AA to RG Dutta invoice (DOJGOR 262259-61)

     19. Exhibit 15A – TRANSLATION

     20. Exhibit 16 - Email from 002 to AA with spreadsheet

     21. Exhibit 16A - TRANSLATION

     22. Exhibit 17 - Email from AA to Juan Ortiz with swift confirmation

     23. Exhibit 18 - Email from 002 to AA with spreadsheet

     24. Exhibit 18A - TRANSLATION

     25. Exhibit 19 - Email from AA to RG with wiring instructions

     26. Exhibit 19A - TRANSLATION

     27. Exhibit 20 - Email from 002 to AA with spreadsheet

     28. Exhibit 20A - TRANSLATION

     29. Exhibit 21 - Email from Unique Jet to AA, RG, AZ, and GP

     30. Exhibit 21A - TRANSLATION

     31. Exhibit 24 - Email from EG to 002 re invoices

     32. Exhibit 24A - TRANSLATION

     33. Exhibit 25 - Email from 002 to AA with spreadsheet

     34. Exhibit 25A - TRANSLATION

     35. Exhibit 26 - Email from 002 to AA with spreadsheet



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     36. Exhibit 26A - TRANSLATION

     37. Exhibit 27 - Email from 002 to AA with spreadsheet

     38. Exhibit 27A - TRANSLATION

     39. Exhibit 28 - Email from 002 to AA with spreadsheet

     40. Exhibit 28A - TRANSLATION

     41. Exhibit 29 - Email from 002 to AA with spreadsheet

     42. Exhibit 29A - TRANSLATION

     43. Exhibit 31 - Email from 002 to AA with spreadsheet

     44. Exhibit 31A - TRANSLATION

     45. Exhibit 32 - Email from 002 to AA with spreadsheet

     46. Exhibit 32A - TRANSLATION

     47. Exhibit 33 - WHATS APP CHAT BETWEEN RG AND AA

     48. Exhibit 33A - TRANSLATION

     49. Exhibit 35 - Invesco Capital Fund Board Doc

     50. Exhibit 35A - TRANSLATION

     51. Exhibit 36 - Invesco Capital Fund Stock Certificate

     52. Exhibit 36A - TRANSLATION

     53. Exhibit 37 - Invesco Agreement

     54. Exhibit 37A - TRANSLATION

     55. Exhibit 41 - Invesco Transfer $18M

     56. Exhibit 43 - MC Gmail Invesco to Invesco transfer

     57. Exhibit 43A - TRANSLATION

     58. Exhibit 45 - MC Gmail Andromeda



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     59. Exhibit 45A - TRANSLATION

     60. Exhibit 46 - Max Camino Kastigar Letter

     61. Exhibit 47 - Max Camino Compulsion Order

     62. Exhibit 48 - Invesco Agreement to Sell

     63. Exhibit 48A - TRANSLATION

     64. Exhibit 49 - MC Gmail re $15M Transfer

     65. Exhibit 49A - TRANSLATION

     66. Exhibit 50 - MC Gmail 3M transfer

     67. Exhibit 50A - TRANSLATION

     68. Exhibit 51 - MC Gmail Transfer

     69. Exhibit 51A - TRANSLATION

     70. Exhibit 52 - MC Gmail Cap Cana

     71. Exhibit 52A - TRANSLATION

     72. Exhibit 53 - MC Gmail re Accounts to be closed

     73. Exhibit 53A - Partial TRANSLATION (Title)

     74. Exhibit 54 - MC Gmail AB

     75. Exhibit 54A - CD 550 TRANSLATION

     76. Exhibit 55 - MC Gmail 2M transfer

     77. Exhibit 55A - TRANSLATION

     78. Exhibit 57 - Invesco TBO Form

     79. Exhibit 63 - Invesco Transfer from Vineyard 4M

     80. Exhibit 65 - Invesco 17M from Bellsite

     81. Exhibit 72 - Email Dated 12-14-12 from EG referencing “AV”



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     82. Exhibit 72A - TRANSLATION

     83. Exhibit 73 -Email Dated 12-21-12 from E. Gouveia titled Cheque AV

     84. Exhibit 73A - TRANSLATION

     85. Exhibit 74 - Email dated 12-28-12 titled Cheques AV

     86. Exhibit 74A - TRANSLATION

     87. Exhibit 75 - Email dated from E. Gouveia 2-20-13 titled Cash $ AV

     88. Exhibit 75A - TRANSLATION

     89. Exhibit 76 - Email dated 3-11-13 from E. Gouveia titled Cargo $ AV

     90. Exhibit 76A - TRANSLATION

     91. Exhibit 77 - Email dated 3-13-13 from E. Gouveia titled Cargos Transferencias AV

     92. Exhibit 77A - TRANSLATION

     93. Exhibit 78 - Email dated 3-21-13 from E. Gouveia titled Direct TV AV

     94. Exhibit 78A - TRANSLATION

     95. Exhibit 79 - Email dated 3-25-2013 from E. Gouveia titled Transfer AV

     96. Exhibit 79A - TRANSLATION

     97. Exhibit 80 - Emailed dated 4-12-13 from E. Gouveia titled Relacion AV

     98. Exhibit 80A - Translation

     99. Exhibit 81 - Email dated 4-16-13 from E. Gouveia titled Fwd: Gastos AV

     100. Exhibit 81A - TRANSLATION

     101. Exhibit 82 - Email dated 4-22-13 from E. Gouveia titled Fwd: 1.5 av

     102. Exhibit 82A - TRANSLATION

     103. Exhibit 83 - Email dated 4-22-13 from E. Gouveia titled Cargo AV

     104. Exhibit 83A - TRANSLATION



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     105. Exhibit 85 - Email dated 4-24-13 from E. Gouveia titled Cheques AV

     106. Exhibit 85A - TRANSLATION

     107. Exhibit 86 - Email dated 5-4-13 from E. Gouveia titled Cargos AV

     108. Exhibit 86A - TRANSLATION

     109. Exhibit 87 - Email dated 5-14-13 from E. Gouveia titled Cheques AV

     110. Exhibit 87A - TRANSLATION

     111. Exhibit 88 - Email dated 5-15-13 from E. Gouveia titled Cargo $ AV

     112. Exhibit 88A - TRANSLATION

     113. Exhibit 89 - Email dated 5-23-13 from E. Gouveia titled Gastos $$ AV

     114. Exhibit 89A - TRANSLATION

     115. Exhibit 90 - Email dated 5-30-13 from E. Gouveia titled Cargos Transfer AV

     116. Exhibit 90A - TRANSLATION

     117. Exhibit 91 - Email dated 5-30-13 from E. Gouveia titled Cargo Transfer $ AV

     118. Exhibit 91A - TRANSLATION

     119. Exhibit 92 - Email dated 6-11-13 from E. Gouveia titled Cheque Cash AV

     120. Exhibit 92A - TRANSLATION

     121. Exhibit 93 - Email dated 6-14-13 to E. Gouveia titled Rv: Facturas AV with attachment

     122. Exhibit 93A - TRANSLATION

     123. Exhibit 94 - Email dated 9-11-12 from E. Gouveia titled Hotel La Romana, CA (Oro)

     124. Exhibit 94A - TRANSLATION

     125. Exhibit 95 - Email dated 9-29-12 from E. Gouveia titled Anotar AV 1.000.000

        Transferencia insured

     126. Exhibit 95A - TRANSLATION



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     127. Exhibit 96 - Email dated 10-18-12 from E. Gouveia titled $ AV

     128. Exhibit 96A - Translation

     129. Exhibit 97 - Email dated 10-25-12 from E. Gouveia titled Cargo Transfer $ AV

     130. Exhibit 97A - Translation

     131. Exhibit 98 - Email dated 11-1-12 from Aseor 002 titled FWDL AVTP 30-10 Explicacion

        y 31-10

     132. Exhibit 98A - TRANSLATION

     133. Exhibit 99 - Email dated 11-7-12 from E. Gouveia titled $18.401,40 Transferencia Seguro

        Oro

     134. Exhibit 99A - TRANSLATION

     135. Exhibit 100 - Email dated 7-31-13 from E. Gouveia titled Fwd: Cargo AV

     136. Exhibit 100A - Translation

     137. Exhibit 101 - Email dated 9-26-12 from asesro 002 titled AVTP 26-09

     138. Exhibit 101A - TRANSLATION

     139. Exhibit 102 - Email dated 9-28-12 from asesor 002 titled AVTP 27-09

     140. Exhibit 102A - Translation

     141. Exhibit 103 - Email dated 10-1-2012 from asesor 002 titled avtp 28-09

     142. Exhibit 103A - TRANSLATION

     143. Exhibit 104 - Email dated 11-5-13 from Asesor 001 titled Fwd: Transferencia AV

        3.000.000

     144. Exhibit 104A - TRANSLATION

     145. Exhibit 105 - Email dated 7-7-14 from asesor 001 tilted Archivos

     146. Exhibit 105A - TRANSLATION



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     147. Exhibit 106 - Email dated 6-17-13 from asesor 002 titled AV/TP1706

     148. Exhibit 106A - TRANSLATION

     149. Exhibit 107 - Email dated 6-12-2014 to Adrian/invescocf titled Fwd: Estatus de la

        Cobranza

     150. Exhibit 107A - TRANSLATION

     151. Exhibit 109 - Email dated 12-1-11 to AV titled AVTP 30-11 Ultimo

     152. Exhibit 109A - TRANSLATION

     153. Exhibit 110 - Email dated 1-2-12 to invescocf Raul Gorrin titled Archivo Final Diciembre

        2011

     154. Exhibit 110A - TRANSLATION

     155. Exhibit 111 - Email dated 1-31-12 to Invescocf Raul Gorrin titled 31-01-12

     156. Exhibit 111A - TRANSLATION

     157. Exhibit 112 - Email dated 2-29-12 to AV RG titled 29/02

     158. Exhibit 112A - TRANSLATION

     159. Exhibit 113 - Email dated 3-30-12 to AV RG titled 30-03

     160. Exhibit 113A - TRANSLATION

     161. Exhibit 114 - Email dated 4-30-12 to invescocf and Raul Gorrin titled 30-04-2012

     162. Exhibit 114A - TRANSLATION

     163. Exhibit 115 - Email dated 5-28-12 to Raul Gorrin titled Fwd: 25/05

     164. Exhibit 115A - TRANSLATION

     165. Exhibit 116 - Email dated 9-25-12 from asersor 002 titled AVTP 25-09

     166. Exhibit 116A - TRANSLATION

     167. Exhibit 117 - Email dated 11-20-12 to invescocf rgorrn titled AVTP 20-11



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     168. Exhibit 117A - TRANSLATION

     169. Exhibit 118 - Email dated 1-3-13 from asesore 002 titled AVTP03/01/2013

     170. Exhibit 118A - TRANSLATION

     171. Exhibit 119 - Email dated 4-5-2013 from Asesor 002 to Shalom with spreadsheet

     172. Exhibit 119A - Translation

     173. Exhibit 120 - Email dated 4-5-2013 from Asesor 002 to rgorrn with spreadsheet

     174. Exhibit 120A - Translation

     175. Exhibit 121 - Email dated 1-10-13 invescocf to rgorrn titled Fwd: Rv: IMG-20130110-

        00006.jpg

     176. Exhibit 121A - TRANSLATION

     177. Exhibit 122 - Email dated 1-14-2013 from rgorrn to invescocf titled confirm

     178. Exhibit 122A - Translation

     179. Exhibit 123 - Email dated 10-11-2012 to Raul Gorrn and cc invescocf titled Fwd: 6,405,000

     180. Exhibit 123A - Translation

     181. Exhibit 124 - Email dated 6-9-11 from Rgorrn titled Lo Acordado

     182. Exhibit 124A - TRANSLATION

     183. Exhibit 126 - Email dated 4-16-2013 to E. Gouveia titled Fwd: Rnv: Pasaporte

     184. Exhibit 126A - TRANSLATION

     185. Exhibit 129 - Email dated 3-6-2013 to Rgorrn titled Re: Fwd: $350k payment is under

        review by the Compliance of HSBC NY (Andiron)

     186. Exhibit 129A - TRANSLATION

     187. Exhibit 131 - Email dated 7-4-2013 from/to E. Gouveia

     188. Exhibit 131A - TRANSLATION



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      189. Exhibit 135 - Email dated 7-15-2013 from Asesor 002 titled 15-07

      190. Exhibit 135A - TRANSLATION

      191. Exhibit 136 - Email dated 3-24-12 to rgorrn titled empresas

      192. Exhibit 136A - TRANSLATION

      193. Exhibit 137 - Email dated 10-18-12 from E. Gouveai to rgorrn titled Re: Instrucciones

      194. Exhibit 137A - TRANSLATION

      195. Exhibit 138 - Email dated 10-18-12 from E. Gouveia titled $ AV

      196. Exhibit 138A - TRANSLATION

      197. Exhibit 139 - Email dated 10-24-13 to E. Gouveia titled Fwd: Factura (AV)

      198. Exhibit 139A - TRANSLATION

      199. Exhibit 140 - Email dated 10-14-13 from E. Gouveia titled Fwd: Learjet 45 (AV) venta

      200. Exhibit 140A - TRANSLATION

      201. Exhibit 141 - Email dated 10-15-2012 to rgorrn and invescocf titled Re: 6,405,000

      202. Exhibit 141A - TRANSLATION

      203. Exhibit 144 - Email dated 6-14-13 to E. Gouveia titled Rv: Facturas AV

      204. Exhibit 144A - TRANSLATION

      205. Exhibit 145 - Email dated 6-10-13 from E. Gouveia titled Permiso de Viaje

      206. Exhibit 145A - TRANSLATION

      207. Exhibit 146 - Email dated 12-14-12 titled Solicitud Cheque de Gerncia de Acqua

      208. Exhibit 146A - TRANSLATION

      209. Exhibit 147 - Email dated 12-14-12 to rgorrn titled Fw: BBI12132012-01 Solicitud de

         informacion

      210. Exhibit 147A - TRANSLATION



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      211. Exhibit 148 - 05/16/2013 Email E. Gouveia to Asesor002 & Asesor03 subject Cargos

         Transfer $$$$

      212. Exhibit 148A - TRANSLATION

      213. Exhibit 149 - Email subject Fwd Factura Patric Love

      214. Exhibit 149A - TRANSLATION

      215. Exhibit 150 - Email subject: Relacion AV $

      216. Exhibit 150A - TRANSLATION

      217. Exhibit 151 - Email subject ANOTAR TRANSFER AV

      218. Exhibit 151A - TRANSLATION

      219. Exhibit 152 - Email subject Fwd: Pasaporte Meredes

      220. Exhibit 152A - TRANSLATION

      221. Exhibit 153 - Email subject Transfer AV Patric Love

      222. Exhibit 155 - Email no Subject Patric Love

      223. Exhibit 156 - Email Fwd: Pasaporte Mercedes Patric Love 5-14-2013

      224. Exhibit 157 - Email Patric Love 5-15-2013

      225. Exhibit 157A - TRANSLATION

      226. Exhibit 158 - Email Documento Patric Love Holding 1-14-2014

      227. Exhibit 158A - TRANSLATION

      228. Exhibit 159 - Email RG to SSouto re ONT Transfers 6-18-12

      229. Exhibit 159A - TRANSLATION

      230. Exhibit 160 - Email SSouto to RG re ONT Transfers 6-18-12

      231. Exhibit 160A - TRANSLATION

      232. Exhibit 161 - Email from JB to RG Chairs and Table for ORO



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      233. Exhibit 161A - TRANSLATION

      234. Exhibit 162 - JB to RG bill for ORO

      235. Exhibit 162A - TRANSLATION

      236. Exhibit 163 - Email from JB to RG re: costs associated with ORO and other boats

      237. Exhibit 163A - TRANSLATION

      238. Exhibit 164 - JB to RG re: ORO bill of sale, etc

      239. Exhibit 164A - PARTIAL TRANSLATION

      240. Exhibit 167 - Email from JB to RG requesting $485K for AV boat

      241. Exhibit 167A - TRANSLATION

      242. Exhibit 168 - BOA Records IYS #9200 – Page 28-30 Oct 2012 Statement

      243. Exhibit 169 - Email from JB to RG attaching wire escrow for $4.35M for boat for AV

      244. Exhibit 169A - TRANSLATION

      245. Exhibit 170 - Email from JB to EG attaching wire escrow for $4.35M

      246. Exhibit 170A - TRANSLATION

      247. Exhibit 171 - BOA Records IYS #9200 – Page 32-35 Nov 2012 Statement

      248. Exhibit 173 - Email from IYS to RG – Transfer #1 AV $198K

      249. Exhibit 173A - TRANSLATION

      250. Exhibit 174 - Email from RG to EG forwarding email above

      251. Exhibit 174A - TRANSLATION

      252. Exhibit 175 - Email from IYS to RG Transfer #2 AV $281,051

      253. Exhibit 175A - TRANSLATION

      254. Exhibit 176 - Email from RG to EG forwarding email

      255. Exhibit 176A - TRANSLATION



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      256. Exhibit 177 - Email from JB to RG with email from RG to JB with swifts

      257. Exhibit 177A - TRANSLATION

      258. Exhibit 178 - BOA Statement for IYS for March 2013

      259. Exhibit 179 - Email from IYS to EG attaching expenses for AV

      260. Exhibit 179A - TRANSLATION

      261. Exhibit 180 - Email from IYS to EG attaching payment instructions

      262. Exhibit 180A – TRANSLATION

      263. Exhibit 181 - Email from IYS to RG and EG - ORO

      264. Exhibit 181A - TRANSLATION

      265. Exhibit 182 - Email from JB to RG Gastos AV

      266. Exhibit 182A - TRANSLATION

      267. Exhibit 183 - Email JB to RG and EG sale of ORO

      268. Exhibit 183A - TRANSLATION

      269. Exhibit 184 - Email from EG to RG re sale

      270. Exhibit 184A - TRANSLATION

      271. Exhibit 185 - Email from IYS to RG, EG, and AV re: sale of ORO

      272. Exhibit 185A - TRANSLATION

      273. Exhibit 186 - Email from IYS to RG - Transfer #1 AV

      274. Exhibit 186A - TRANSLATION

      275. Exhibit 187 - Email from IYS to RG – Transfer #2 AV

      276. Exhibit 187A - TRANSLATION

      277. Exhibit 190 - BOA #9200 DEC. 2014 Statement

      278. Exhibit 191 - Undated photograph



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      279. Exhibit 192 - Photo of Intrepid Center Console Oro

      280. Exhibit 193 - Photo of Oro Yacht

      281. Exhibit 194 - Photo of Sean Yacht

      282. Exhibit 195 - Oro Yacht Dry Docked

      283. Exhibit 196 - Photo of outside of N502KA

      284. Exhibit 197 - Photo of inside of N502KA

      285. Exhibit 199 - Motor Yacht Sean 1

      286. Exhibit 202 - Email subject line: Fwd_ Proforma

      287. Exhibit 202A - TRANSLATION

      288. Exhibit 204 - Chat subject line: Chat with Adrian on 8/14/2012

      289. Exhibit 204A - TRANSLATION

      290. Exhibit 207 - Email subject line: Fw_ Calendario para los proximos

      291. Exhibit 207A - TRANSLATION

      292. Exhibit 208 - Chat subject line: Chat with Claudia on 12/20/2012

      293. Exhibit 208A - TRANSLATION

      294. Exhibit 212 - Email subject line: Factura Patric Love

      295. Exhibit 212A - TRANSLATION

      296. Exhibit 214 - Chat subject line: Chat with Adrian on 1/11/2013

      297. Exhibit 214A - TRANSLATION

      298. Exhibit 216 - Email subject line: Factura de Patric Love

      299. Exhibit 216A - TRANSLATION

      300. Exhibit 219 - Patric Love USA Inc Articles of Incorporation

      301. Exhibit 221 - Email subject line: Fwd_ Patric Love USA CitiBank Señas Transferencias



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      302. Exhibit 221A - TRANSLATION

      303. Exhibit 224 - Scan of Passport for Maria Mercedes Torres Millan

      304. Exhibit 225 - IMG_0795 Undated photograph

      305. Exhibit 226 - IMG_0807 Undated photograph

      306. Exhibit 227 - IMG_0804 Undated photograph

      307. Exhibit 228 - IMG_0797 Undated photograph

      308. Exhibit 229 - IMG_0801 Undated photograph

      309. Exhibit 230 - IMG_0800 Undated photograph

      310. Exhibit 231 - Patric Love Business Cards

      311. Exhibit 232 - Look Book

      312. Exhibit 233 - Patric Love Evangelista Campaign

      313. Exhibit 239 - Email subject Access to my Patric Love Email

      314. Exhibit 239A - TRANSLATION

      315. Exhibit 242 - Email subject line: Corte Comisiones Unique Jet Aviation

      316. Exhibit 242A - TRANSLATION

      317. Exhibit 246 - Email subject line: Rv: Factura AV (DOJGOR-0000074545 - 46)

      318. Exhibit 246A - TRANSLATION

      319. Exhibit 250 - Email subject line: FACTURA (AV)

      320. Exhibit 250A - TRANSLATION

      321. Exhibit 251 - Email subject line: FACTURA AV

      322. Exhibit 251A - TRANSLATION

      323. Exhibit 252 - Email subject line: Caja Encore+ AV

      324. Exhibit 252A - TRANSLATION



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      325. Exhibit 253 - Email subject line: RE: Facturas AV

      326. Exhibit 253A - TRANSLATION

      327. Exhibit 254 - Photo of outside of N526EE

      328. Exhibit 255 - Photo of outside of N526EE

      329. Exhibit 256 - Photo of inside of N526EE

      330. Exhibit 257 - Photo of inside of N526EE

      331. Exhibit 261 - Claudia Diaz 2010 Visa Application

      332. Exhibit 261A - PARTIAL TRANSLATION

      333. Exhibit 262 - Claudia Diaz 2011 Visa Application

      334. Exhibit 262A - PARTIAL TRANSLATION

      335. Exhibit 263 - Claudia Diaz 2012 Visa Application

      336. Exhibit 263A - PARTIAL TRANSLATION

      337. Exhibit 264 - Diaz Mother 2012 Visa Application

      338. Exhibit 265 - Diaz Sister 2012 Visa Application

      339. Exhibit 266 - Claudia Diaz Border Crossings

      340. Exhibit 267 - Adrian Velasquez Border Crossing

      341. Exhibit 268 - Alejandro Andrade Border Crossing

      342. Exhibit 269 - Raul Gorrin Border Crossing

      343. Exhibit 270 - Maximillian Camino Border Crossing

      344. Exhibit 271 - Alejandro Zingg Border Crossing

      345. Exhibit 272 - Flight Manifests

      346. Exhibit 300 - Invesco Capital Fund Opening Docs at BSI

      347. Exhibit 301 - Invesco True Beneficial Owner Form 1



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      348. Exhibit 302 - Invesco True Beneficial Owner Form 2

      349. Exhibit 309 - Invesco Transfer from Vineyard 4M dated 10-19-11

      350. Exhibit 310 - Invesco 1.3M from Invesco CF dated 10-13-11

      351. Exhibit 311 - Invesco 17M from Bellsite dated 1-27-12

      352. Exhibit 312 - Invesco to Invesco 3.8M dated 4-17-12

      353. Exhibit 313 - Invesco to Invesco 15M Out to CBH dated 5-8-12

      354. Exhibit 314 - Invesco CF 12-31-11 Q Acct Summary USD

      355. Exhibit 315 - Invesco Quarter Summaries 4Q 2011 2Q 2012 GBP

      356. Exhibit 317 – BSI Invesco Closing Letter

      357. Exhibit 400 - MJ Box Tool BSI Opening Documents

      358. Exhibit 401 - MJ Box Tool BSI Authorized Signers 10-10-2012

      359. Exhibit 404 - MJ Box Tool BSI Risk Profile 10-10-2012

      360. Exhibit 404A - TRANSLATION

      361. Exhibit 407 - MJ Box Tool KYC

      362. Exhibit 407A - TRANSLATION

      363. Exhibit 408 - MJ Box Tool Year End Valuations 2012-15

      364. Exhibit 412 - MJ Box Tool 12-18-2013 AV Transfer

      365. Exhibit 413 - MJ Box Tool 12-16-2013 AV Transfer

      366. Exhibit 414 - MJ Box Tool 12-5-2013 AV Transfer

      367. Exhibit 415 - MJ Box Tool 11-14-2012 Invesco CF Transfer

      368. Exhibit 416 - MJ Box Tool 11-14-2012 Invesco CF Transfer

      369. Exhibit 417 - MJ Box Tool 11-12-2012 Invesco CF Transfer

      370. Exhibit 418 - MJ Box Tool 11-22-2012 AV Transfer



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      371. Exhibit 419 - MJ Box Tool 11-29-2012 Invesco CF Transfer

      372. Exhibit 420 - MJ Box Tool 1-10-2014 AV Transfer

      373. Exhibit 422 - MJ Box Tool 2012 Statement

      374. Exhibit 423 - MJ Box Tool July - December 2012 Statement

      375. Exhibit 500 - IBDCB Opening Agreement

      376. Exhibit 501 - IBDCB Client Profile Document

      377. Exhibit 502 - IBDCB True Beneficial Owner Declaration

      378. Exhibit 503 - IBCDB Inc. Account Statement USD 1-1-2012 to 9-

      379. Exhibit 504 - IBCDB Inc. Account Statement CHF 11-24-11 to 3-11-2014

      380. Exhibit 505 - IBCDB Inc. Account Statement USD 11-24-11 to 3-11-2014

      381. Exhibit 506 - IBCDB Inc. Account Statement Euro 11-24-11 to 3-11-2014

      382. Exhibit 507 - ONT Transactions

      383. Exhibit 507A - TRANSLATION

      384. Exhibit 508 - Securities Spreadsheet 11/24/2011-03/11/2014

      385. Exhibit 509 - Wire to Interglobal Yacht

      386. Exhibit 509A – TRANSLATION

      387. Exhibit 601 - Andiron Corporation Opening Documents

      388. Exhibit 608 - Andiron Client Information Profile

      389. Exhibit 610 - Andiron $4M Wire Instruction to Patric Love

      390. Exhibit 610A - TRANSLATION

      391. Exhibit 611 – Andiron $4M Wire Instruction Patric Love Justification

      392. Exhibit 611A – TRANSLATION

      393. Exhibit 616 - Andiron April May 2013 Statement Patric Love



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      394. Exhibit 617 - Andiron Outgoing Wire to Patric Love $4M

      395. Exhibit 618 - Andiron Unique Jet Aviation $1M wire

      396. Exhibit 618A - TRANSLATION

      397. Exhibit 619 - Andiron January 2014 Patric Love Transfer

      398. Exhibit 619A - TRANSLATION

      399. Exhibit 700 - Bellsite Opening Account Documents

      400. Exhibit 704 - Bellsite Account Statement June 2011

      401. Exhibit 705 - Bellsite Account Statement July 2011

      402. Exhibit 706 - Bellsite Account Statement July 2011

      403. Exhibit 707 - Bellsite Account Statement July 2011

      404. Exhibit 708 - Bellsite Account Statement Late 2011

      405. Exhibit 709 - Bellsite Account Statement Early 2012

      406. Exhibit 710 - Bellsite Invesco Transfer

      407. Exhibit 710A - TRANSLATION

      408. Exhibit 711 - Bellsite Invesco Transfer

      409. Exhibit 711A - TRANSLATION

      410. Exhibit 712 - Bellsite Invesco Transfer

      411. Exhibit 712A - TRANSLATION

      412. Exhibit 800 - Vineyard Ventures Opening Documents

      413. Exhibit 802 - Vineyard Ventures EFG 7-27-2011 Transfer

      414. Exhibit 803 - Vineyard Ventures EFG 8-2-2011 Transfer

      415. Exhibit 809 - Vineyard Ventures Bond Transactions

      416. Exhibit 814 - Vineyard Ventures Bellsite Transfer 12-12-2011



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      417. Exhibit 816 - Vineyard Ventures Bond Transfer 7-25-2011

      418. Exhibit 817 - Vineyard Ventures 8-2-2011 ONT Transfer

      419. Exhibit 818 - Vineyard Ventures 8-11-2011 ONT Transfer

      420. Exhibit 819 - Vineyard Ventures 8-19-2011 ONT Transfer

      421. Exhibit 820 - Vineyard Ventures 9-1-2011 ONT Transfer

      422. Exhibit 821 - Vineyard Ventures 9-9-2011 ONT Transfer

      423. Exhibit 822 - Vineyard Ventures 9-16-2011 ONT Transfer

      424. Exhibit 823 - Vineyard Ventures 9-23-2011 ONT Transfer

      425. Exhibit 824 - Vineyard Ventures 9-27-2011 ONT Transfer

      426. Exhibit 825 - Vineyard Ventures July - September 2011

      427. Exhibit 828 - 10-18-2011 Transfer to Invesco CF

      428. Exhibit 830 - 10-27-2011 Transfer to Invesco CF

      429. Exhibit 831 - 10-26-2011 Letter re Transfer to Invesco CF

      430. Exhibit 831A - TRANSLATION

      431. Exhibit 834 - Vineyard Ventures EFG 8-8-2011 Transfer

      432. Exhibit 835 - Vineyard Ventures EFG 8-16-2011 Transfer

      433. Exhibit 836 - Vineyard Ventures EFG 8-25-2011 Transfer

      434. Exhibit 837 - Vineyard Ventures EFG 9-6-2011 Transfer

      435. Exhibit 838 - Vineyard Ventures EFG 9-9-2011 Sale of Bond Confirmation

      436. Exhibit 839 - Vineyard Ventures EFG 9-13 14 2011 Transfer Sale of Bond

      437. Exhibit 840 - Vineyard Ventures EFG 9-21-2011 Transfer

      438. Exhibit 841 - Vineyard Ventures EFG 9-28-2011 Transfer

      439. Exhibit 900 - Mahogany Opening Documents



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      440. Exhibit 904 - Mahogany Account Statement

      441. Exhibit 904A - TRANSLATION

      442. Exhibit 950 - Sevenstar account opening

      443. Exhibit 954 - Sevenstar securities movement

      444. Exhibit 956 - Sevenstar account

      445. Exhibit 960 - Raul Gorrin HSBC Opening

      446. Exhibit 961 - Raul Gorrin HSBC Transfer to IYS $281K

      447. Exhibit 961A - TRANSLATION

      448. Exhibit 970 - Western Cape Opening Documents

      449. Exhibit 975 - Western Cape Invesco CF Transfer

      450. Exhibit 975A - TRANSLATION

      451. Exhibit 976 - Western Cape IBCDB Wire In

      452. Exhibit 980 - Western Cape Transfers

      453. Exhibit 983 - Western Cape 2012 Statement

      454. Exhibit 984 - Western Cape 2011 Statement

      455. Exhibit 988 - Western Cape IBCDB Transfer In Invesco CF Out

      456. Exhibit 993 - Western Cape Unique Jet Aviation Transfer

      457. Exhibit 993A - TRANSLATION

      458. Exhibit 995 - Western Cape Unique Jet Aviation Transfer

      459. Exhibit 995A - TRANSLATION

      460. Exhibit 996 - Western Cape April 2013 Statement

      461. Exhibit 997 - Western Cape Patric Love

      462. Exhibit 997A - TRANSLATION



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      463. Exhibit 1110 - Patric Love Holdings, Inc. Citibank Records

      464. Exhibit 1111 - Patric Love Holdings, Inc. Citibank Account Statement Feb 1 - Feb 28, 2013

      465. Exhibit 1112 - Patric Love Holdings, Inc. Citibank Account Statement Apr 1 - Apr 30,

         2013

      466. Exhibit 1113 - Patric Love Holdings, Inc. Citibank Account Statement May 1 - May 31,

         2013

      467. Exhibit 1115 - February 1, 2013 Wire Transfer to Patric Love

      468. Exhibit 1116 - April 5, 2013 Wire Transfer to Patric Love

      469. Exhibit 1117 - May 17, 2013 Wire Transfer to Patric Love

      470. Exhibit 1122 - Escrow Report IBCDB - N526EE

      471. Exhibit 1123 - FAA Registry Documents for N526EE

      472. Exhibit 1124 - N526EE Payment Ledger

      473. Exhibit 1125 - Invesco Capital Fund Escrow Report Insured Aircraft

      474. Exhibit 1126 - IBCDB Wire $20M N526EE

      475. Exhibit 1127 - Voting Trust Agreement N90RZ

      476. Exhibit 1128 - FAA Records Search N526EE

      477. Exhibit 1129 - Ledger Plane Payments N526EE

      478. Exhibit 1130 - Offer to Purchase N526EE

      479. Exhibit 1131 - Registration N526EE Buter Aviation

      480. Exhibit 1132 - N526EE Bill of Sale

      481. Exhibit 1133 - N526EE Voting Trust Agreement

      482. Exhibit 1134 - N526EE Registration Application Butler Aviation

      483. Exhibit 1135 - Closing Statement N90RZ IBCDB $1M & $6.4M



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      484. Exhibit 1140 - Martorell Office Group Invoices (12/6/2013, 11/18/2015, 4/1/2016)

      485. Exhibit 1140A - TRANSLATION

      486. Exhibit 1141 - Martorell Office Group Invoices (2/18/2014, 10/1/2013, 11/5/2013,

         11/12/2013, 12/2/2013, 1/13/2014, 2/4/2014)

      487. Exhibit 1141A - TRANSLATION

      488. Exhibit 1142 - Martorell Office Group Invoices (2/4/2014, 1/13/2014, 12/6/2013)

      489. Exhibit 1142A - TRANSLATION

      490. Exhibit 1143 - Email subject line: Datos de Jerimias Martorell

      491. Exhibit 1143A - TRANSLATION

      492. Exhibit 1144 - Patric Love Holdings – Email about Linda Evangelista Campaign Subject

         Line: Blogs

      493. Exhibit 1145 - PATRIC LOVE HOLDINGS – Email about Dominican Republic +

         ATTACHMENT [Document Floor 2]

      494. Exhibit 1145A - TRANSLATION

      495. Exhibit 1146 - Email subject line: Globo,Ventelcom, La Vitalicia y Interbusa en Miami

      496. Exhibit 1146A - TRANSLATION

      497. Exhibit 1147 - MJ Box Tool FL Art of Incorporation 2012

      498. Exhibit 1148 - MJ Box Tool FL Art of Incorporation 2015

      499. Exhibit 1150 - Summary Spreadsheet from “AV” Excel Attachments

      500. Exhibit 1151 - Gmail Invesco Subscriber Info

      501. Exhibit 1152 - Motor Yacht Sean 3

      502. Exhibit 1153 - Adrian Jose Velasquez Figueroa 2010 Visa Application

      503. Exhibit 1153A - TRANSLATION



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      504. Exhibit 1154 - Adrian Jose Velasquez Figueroa 2011 Visa Application

      505. Exhibit 1154A - TRANSLATION

      506. Exhibit 1155 - Adrian Jose Velasquez Figueroa 2012 Visa Application

      507. Exhibit 1155A - TRANSLATION

      508. Exhibit 1156 - LGD-AA Accounting Picture 12-30-2015

      509. Exhibit 1156A – TRANSLATION

      510. Exhibit 1157 - LGD-AA Accounting Picture 12-2016

      511. Exhibit 1157A – TRANSLATION

      512. Exhibit 1158 - Patric Love Meeting Minutes October 4, 2012

      513. Exhibit 1158A - TRANSLATION

      514. Exhibit 1159 - Letters re Accounts to be closed Arganine Twain Garton unsigned

      515. Exhibit 1160 - Private Plane Photo Inside

      516. Exhibit 1161 - July 18 2012 Email MC to Invescocf Signed letters

      517. Exhibit 1162 - 11-10-2011 Email Fwd_ RV_ Carta Compra

      518. Exhibit 1162A - TRANSLATION

      519. Exhibit 1163 - 10-3-2012 Email Fwd_ CORRECCIÓN DEL MONTO_ Confirmacion

         Compra

      520. Exhibit 1163A - TRANSLATION

      521. Exhibit 1164 - Zapata CASA Proof of Employment

      522. Exhibit 1164A - TRANSLATION

      523. Exhibit 1165 - Zapata ONT Employment Contract

      524. Exhibit 1165A - TRANSLATION

      525. Exhibit 1167 - Stipulation – Email Records Authentication



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      526. Exhibit 1168 - Stipulation – MLAT Records Authentication

      527. Exhibit 1169 - Stipulation – Visa Application Records

      528. Exhibit 1170 - Stipulation – International Wire Counts 9 and 10

      529. Exhibit 1171 - Stipulation – Citibank and BoA Records Authentication

      530. Exhibit 1172 - Zapata Asylum Application



                                   Respectfully submitted,

          GLENN S. LEON                                JUAN ANTONIO GONZALEZ
          CHIEF, FRAUD SECTION                         UNITED STATES ATTORNEY

   By:    /s/ Michael C. Harper            By:         /s/ Kurt K. Lunkenheimer
          MICHAEL CULHANE HARPER                       KURT K. LUNKENHEIMER
          PAUL A. HAYDEN                               Assistant United States Attorney
          Trial Attorneys                              Court ID No. A5501535
          Fraud Section, Criminal Division             U.S. Attorney’s Office - SDFL
          U.S. Department of Justice                   99 N.E. 4th Street, Suite 600
          1400 New York Avenue, N.W.                   Miami, FL 33132-2111
          Washington, D.C. 20005                       Telephone: (305) 961-9008
          Telephone: 202-626-5224                      Email: Kurt.Lunkenheimer@usdoj.gov
          Email: Michael.Harper@usdoj.gov




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